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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                  8:14CR156
                     Plaintiff,                )
                                               )
       vs.                                     )                   ORDER
                                               )
ROCKY VERDUGO,                                 )
                                               )
                     Defendant.                )

       This matter is before the court on the motion for an extension of time by defendant Rocky
Verdugo (Verdugo) (Filing No. 97). Verdugo seeks an additional thirty days in which to file
pretrial motions in accordance with the progression order. Verdugo's counsel represents that
Verdugo will file an affidavit wherein he consents to the motion and acknowledges he
understands the additional time may be excludable time for the purposes of the Speedy Trial
Act. Verdugo's counsel represents that government's counsel has no objection to the motion.
Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Verdugo's motion for an extension of time (Filing No. 97) is granted. Verdugo
is given until on or before December 8, 2014, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising as

a result of the granting of the motion, i.e., the time between November 5, 2014, and

December 8, 2014, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time
to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 5th day of November, 2014.
                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
